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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



 THE HOMESOURCE, CORP.,              Civil Action No.: 1:18-cv-11970

                    Plaintiff,       Hon. Eduardo C. Robreno (EDPA)
                                     Hon. Ann Marie Donio
       v.

 RETAILER WEB SERVICES, LLC,
 et al.,

                    Defendants.


           NATIONWIDE MARKETING GROUP, LLC’S REPLY
              IN SUPPORT OF ITS MOTION TO DISMISS
        PLAINTIFF’S SECOND AMENDED COMPLAINT [DOC. 196]

 Dated: July 27, 2020                Respectfully submitted,

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                                   INTRODUCTION
     HomeSource failed to show that personal jurisdiction is proper over Nationwide in
  this Court or that its allegations against Nationwide are sufficient to state a claim upon
  which relief can be granted. None of HomeSource’s claimed facts establish that

  Nationwide is “at home” in New Jersey, nor do they show Nationwide targeted New
  Jersey with its alleged suit-related conduct. HomeSource’s Second Amended Complaint
  (“SAC”) should therefore be dismissed under Rule 12(b)(2).
     Dismissal of the SAC is also proper under Rule 12(b)(6) for three reasons: (1)
  HomeSource failed to allege facts sufficient to hold Nationwide, RWS II’s sister
  corporation, liable for a Newsletter RWS II sent; (2) the Third Circuit and this District

  do not recognize a cause of action for contributory false advertising under the Lanham
  Act and (3) HomeSource alleges no agreement to engage in unlawful conduct as
  required by conspiracy case law. As a result, each of HomeSource’s substantive claims
  against Nationwide should be dismissed for failure to state a claim upon which relief
  can be granted.
     Finally, Nationwide’s motion to dismiss filing was not a “coordinated attack.” Doc.
  220, p. 1. Rather, Nationwide seeks to avoid litigating in a foreign jurisdiction and
  defending against HomeSource’s baseless claims.

                                     BACKGROUND
     HomeSource relies almost entirely on several attenuated jurisdictional “facts” to
  claim that Nationwide has “continuously and systematically” done business with New

  Jersey. Doc. 220, p. 5. It argues Nationwide (1) sent a letter to Gov. Murphy; (2)
  communicated with HomeSource; (3) met with HomeSource representatives in 2017


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  and (allegedly) signed a non-disclosure agreement; (4) assigned an employee to cover
  New Jersey; (5) worked with eight retailers who have stores in New Jersey; (6) leased a

  car in New Jersey in 2015; and (7) allegedly conspired to send the Newsletter to several
  recipients in New Jersey. Id. pp. 9-10. These “facts” are either misleading, unrelated to
  this case, or are tenuous contacts with New Jersey:

      The Letter to Gov. Murphy: HomeSource cites one letter relating to COVID that
  Nationwide wrote to New Jersey Governor Phil Murphy on March 24, 2020, nearly two
  years after RWS’s Newsletter. Doc. 220 p. 5. In reality, Nationwide sent advocacy letters

  about COVID-related shutdowns to all 50 governors and the federal government. All
  50 COVID letters lobbied for essential service businesses to remain open during the
  pandemic. HomeSource cites no legal authority to support how a letter addressing an

  unprecedented public health and economic crisis exhibits an intent to be subjected to
  jurisdiction in New Jersey. The COVID letter is unrelated to this case and does not
  show that Nationwide continuously or systematically operates in New Jersey. See Letter,
  Doc. 226-1.1
      The Alleged Business and Communications with HomeSource: Contrary to
  HomeSource’s allegations, Nationwide has no business relationship with HomeSource
  and its discussions with HomeSource were brief, non-substantive, and unrelated to this




  1
    Nationwide’s webpage contains links to the letters. See Rob Stott, State By State
  Advocacy Efforts and Templates, Nationwide Marketing Group,
  https://www.nationwidegroup.org/state-by-state-advocacy-efforts-and-templates/
  (last visited July 22, 2020).

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  lawsuit. Mukherjee Dec., Doc. 196-2, ¶ 9.2
      Meeting with HomeSource Representatives: Nationwide only had brief, non-

  substantive conversations with HomeSource representatives twice in 2017, one of
  which was at an expo in Connecticut. Mukherjee Dec., Doc. 196-2, ¶ 10. Nationwide is
  unaware of any executed NDAs with HomeSource, nor did HomeSource attach one to

  the SAC or its Response.
      The Employee Servicing New Jersey: Only one of Nationwide’s 123 employees
  covers New Jersey—along with five other states—and he is not based in New Jersey,

  and does not live there. Mukherjee Dec., Doc. 196-2, ¶ 7.
      The Independent Appliance Dealers: While HomeSource claims that
  Nationwide serves eight appliance dealers in New Jersey, it also states that the

  “Newsletter targeted HomeSource customers who are Appliance Dealer Cooperative
  (‘ADC’) members[.]” Doc. 220, p. 5. ADC’s website claims that it is a “regional buying
  group” with “[o]ver 200 Members across nine states with over 275 storefronts.”3 So by
  HomeSource’s own math, only 4% (8 out of more than 200) of the targeted ADC
  members were Nationwide clients in New Jersey.
      The Car Lease: Nationwide once leased a car from a New Jersey dealer in 2015
  (Lease, Doc. 226-3), but HomeSource provides no cogent argument for why that would
  be a jurisdictionally relevant fact, nor how a car leased five years ago relates to its claims.


  2
   At most, Nationwide and HomeSource each service a similar California customer, and
  emailed about it. No business, contracts, or money was exchanged with Plaintiff. Such
  attenuated connections are unrelated to this lawsuit.
  3
   Appliance Dealers Cooperative, adc.coop, available at
  http://adc.coop/AboutADC.pdf (last visited July 21, 2020).

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     The Alleged Conspiracy: HomeSource never alleges Nationwide sent the
  Newsletter, but that Nationwide “conspired” to draft the Newsletter. HomeSource

  concedes that RWS II, an Arizona company, sent the Newsletter. Doc. 220, p. 4. Thus,
  Nationwide never directed any allegedly defamatory statements to New Jersey, or to
  any forum; at most, HomeSource alleges that Nationwide communicated with an

  Arizona company (RWS II) and a Connecticut company (Gridiron) about it.

                                LAW AND ARGUMENT
        HomeSource fails to establish that the exercise of personal jurisdiction
        over Nationwide is proper or consistent with due process.
        A.     HomeSource’s Response fails to meet the Supreme Court’s general
               jurisdiction standard over Nationwide.
     HomeSource’s Response fails to meet the Supreme Court’s high standard to

  establish general personal jurisdiction over Nationwide in New Jersey. General
  jurisdiction typically exists only where a corporate defendant is “at home”: 1) the
  defendant’s state of incorporation, and 2) the location of its principal place of business.
  BNSF Ry. Co. v. Tyrrell, 137 S.Ct. 1549, 1552-53 (2017). Neither criterion is met here;
  Nationwide is not incorporated in New Jersey, nor is it based there. This alone should
  end the discussion on general jurisdiction.
     This is also not an “exceptional case” where Nationwide’s operations in New Jersey
  are “so substantial and of such a nature as to render the corporation at home in that
  State.” Id. (quoting Daimler AG v. Bauman, 134 S.Ct. 746, 761 n. 19 (2014). After Daimler,
  establishing general jurisdiction over an out-of-state defendant is “incredibly difficult.”
  See Chavez v. Dole Food Co., Inc., 836 F.3d 205, 223 (3d Cir. 2016). Indeed, the Supreme
  Court signaled that an exceptional case will be rare and may be limited to situations


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  when a business is forced to temporarily relocate the center of its activities outside its
  “home” forum, as was the case in Perkins v. Benquet Consol. Mining Co., 542 U.S. 437, 448

  (1952), when the defendant had to relocate its business in response to a wartime
  environment. See BNSF Ry. Co., 137 S.Ct. at 1558. No such facts are present here and
  HomeSource’s reasoning would approve the exercise of general jurisdiction in every

  state in which a corporation did business, which has been flatly rejected. Daimler, 571
  U.S. at 119 (“No decision of this Court sanctions a view of general jurisdiction so
  grasping.”).

     HomeSource claims that Nationwide has less than a dozen customers operating
  stores in New Jersey, that it sent a letter to Gov. Murphy (and 49 other governors); that
  it once leased a car in New Jersey five years ago; Nationwide shared a California-

  customer with HomeSource, a New Jersey company; Nationwide has an employee
  covering New Jersey and five other states; and Nationwide allegedly “conspired” with
  its co-defendants to draft a Newsletter that went to New Jersey. Doc. 220, pp. 9-10.
  These contacts bear no resemblance to the “exceptional” scenario under which
  Nationwide’s contact with New Jersey was so pervasive and “substantial” so as to
  establish that Nationwide is essentially “at home” in New Jersey. To the contrary,
  nothing in HomeSource’s brief shows more than inconsistent, happenstance, and
  tenuous connections to New Jersey. Thus, HomeSource has failed to carry its
  “incredibly difficult” and “exceptional” burden of establishing general jurisdiction.

        B.       HomeSource cannot show specific jurisdiction and ignores the
                 Supreme Court’s recent decision in Walden v. Fiore.
     HomeSource concedes that to establish specific jurisdiction over Nationwide, it has



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  to establish that Nationwide “expressly aimed [its] tortious conduct at the forum such
  that the forum can be said to be the focal point of the tortious activity.” Doc. 220 p. 11

  (quoting IMO Indus. v. Kiekert AG, 155 F.3d 254, 265-66 (3d Cir. 1998)). Yet HomeSource
  cannot establish that Nationwide targeted its alleged “suit-related conduct” towards
  New Jersey, let alone as the “focal point” of the alleged tortious conduct. See Doc. 220,

  p. 12 (citing Mellon Bank PSFA, Nat’l Ass’n v. Farino, 960 F.2d 1217 (3d Cir. 1992)4; cf.
  Walden v. Fiore, 571 U.S. 277, 284 (2014).
      HomeSource ignores the mandate from Walden v. Fiore that it must show Nationwide

  targeted its “suit-related conduct” at New Jersey. It only makes conclusory claims that
  “Nationwide, RWS, and Gridiron purposefully directed the defamatory Newsletter
  about a New Jersey corporation, HomeSource, to its New Jersey actual and prospective

  customers,” and HomeSource “lost customers and suffered financial and reputational
  damage in New Jersey.” Id. pp. 11-12. HomeSource alleges nothing about how
  Nationwide had any role in sending the Newsletter into New Jersey. This alone should
  be fatal to HomeSource’s jurisdictional claim because “defendant’s relationship with a
  plaintiff or third party,” like RWS, “is an insufficient basis for jurisdiction.” Walden, at
  286. Nor does HomeSource claim that the Newsletter was sent only to or to specifically
  target New Jersey recipients, tacitly admitting that it had a generalized recipient list



  4
   HomeSource’s reliance on Mellon Bank is inapt as it is distinguishable and pre-dates
  Walden, Daimler, and BNSF: it fails to address the personal jurisdiction limitations
  imposed by those more recent decisions, and the defendant in Mellon Bank engaged in
  business with the plaintiff in the forum state and that business was relevant to the suit.
  960 F.2d at 1226. In contrast, HomeSource concedes that no purported investment
  occurred, and the parties do not have business with each other. SAC, Doc. 164, ¶ 26.

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  outside the state. Clendening Dec., Doc. 226, ¶ 4.5
      Finally, HomeSource likewise does not explain how the alleged business investment

  by Nationwide into HomeSource, which never materialized, is related to its claims. See
  Doc. 220, p. 12.
      Because HomeSource cannot establish that Nationwide targeted New Jersey, let

  alone as the “focal point,” HomeSource cannot establish specific personal jurisdiction.

         C.    Exercising personal jurisdiction over Nationwide would violate
               Due Process.
      HomeSource failed to carry its burden to establish general or specific jurisdiction

  over Nationwide. But even if HomeSource could establish either, the Court must then
  analyze whether the exercise of personal jurisdiction is reasonable. World-Wide
  Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980). HomeSource has failed to show

  that the exercise of personal jurisdiction would be reasonable6, as each factor weighs
  against jurisdiction in New Jersey, an additional and independent reason to grant
  Nationwide’s motion to dismiss.

  5
    Presumably, HomeSource never alleges that the Newsletter was sent only to New
  Jersey recipients because it also claims “[t]he Newsletter targeted HomeSource
  customers who are Appliance Dealers Cooperative (‘ADC’) members[.]” Doc. 220, p.
  5. ADC is a regional group with members in nine states. Appliance Dealers Cooperative,
  adc.coop, available at http://adc.coop/AboutADC.pdf (last visited July 21, 2020). Thus,
  if the Newsletter targeted ADC members, it was aimed at recipients in nine states, rather
  than being targeted at New Jersey.
  6
    HomeSource incorrectly claims that “[i]t is well established that in deciding a motion
  to dismiss for lack of jurisdiction, a court is required to … construe disputed factors in
  favor of the plaintiff.” Doc. 220, p. 7 (emphasis added). The case cited by HomeSource
  states that the court must “construe disputed facts” in the plaintiff’s favor. Metcalfe v.
  Renaissance Marine, Inc., 566 F.3d 324, 330 (3d Cir. 2009) (emphasis added). Thus, the
  Court need not construe any of the disputed factors in HomeSource’s favor.

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       To the first factor, HomeSource claims “[t]here is very little burden on Nationwide
  to litigate in the District of New Jersey” because it has eight clients in the state, has one

  employee who covers the state, rented a car in New Jersey five years ago, and sent a
  COVID letter to New Jersey’s governor. Doc. 220, p. 13. These arguments are complete
  non-sequiturs; there is no connection between, say, renting a car five years ago and the

  burden Nationwide would face today to litigate out of state.
       HomeSource’s claim that Nationwide has 8 clients in New Jersey must be taken in
  context: Nationwide merely provides software and services from its office in North

  Carolina, as it does with over 5,000 retailers nationwide; it does not “conduct business
  in New Jersey through eight appliance dealers.” Cf. Doc. 220 p. 13. The one sales
  employee7 who covers New Jersey also covers Pennsylvania, Maryland, Connecticut,

  Delaware, and Rhode Island. Doc. 196-2, ¶ 7.8 And the COVID letter, which
  HomeSource claims to show “a significant presence in New Jersey” (Doc. 220, p. 13)
  was sent to all 50 state governors, not just New Jersey’s, to advocate for essential
  businesses, in response to a one-time, unprecedented public health and economic crisis.
  See Doc. 226-1. None of these points outweigh the clear, particularized burdens
  explained in Nationwide’s opening brief.

  7
      Out of 123 employees. Mukherjee Dec., Doc. 196-2, ¶¶ 7-8.
  8   Cf. Cohen v. Starbucks Corp., No. CV 19-2062(FLW), 2019 WL 2591164, at *3 (D.N.J.
  June 25, 2019) (finding no personal jurisdiction over Starbucks despite it having
  hundreds or thousands of stores in New Jersey and plaintiff’s claim that it was
  “omnipresent” in the state); Jeffs v. Ford Motor Co., No. 5-15-0529, 2018 WL 3466965,
  at *4, *6 (Ill. App. Ct. 5th Dist. July 12, 2018) (finding no personal jurisdiction over
  Ford even though it was registered to do business in the state, sold over 100,000 cars
  yearly, had 156 authorized dealers, 5,500 employees, and litigated numerous cases in
  the state).

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       HomeSource’s claim that the second and third factors—the interests of the forum
  state and the plaintiff’s interest in obtaining relief—favor New Jersey is also flawed.

  New Jersey has no more particular interest in this case than North Carolina
  (Nationwide’s state of headquarters), Arizona (RWS’s state of headquarters), or
  Connecticut (Gridiron’s state of headquarters), each of which has an interest in

  protecting its residents from baseless lawsuits. Nor can HomeSource rely on McGee v.
  Int'l Life Ins. Co., 355 U.S. 220, 223 (1957). McGee was an insurance dispute based on a
  contract delivered in California, the premiums were mailed from California, and the

  insured resided in California when he died; on these facts, the Court held that California
  “has a manifest interest in providing effective means of redress for its residents when
  their insurers refuse to pay claims.” Id. Here, in contrast, Nationwide lacks the suit-

  related contacts of the McGee defendant. HomeSource also has already proved willing
  to appear in North Carolina by litigating the Furniture Distributors and Salas lawsuits
  in that state, and litigating a motion to quash filed by Nationwide.9
       The remaining factors—the judicial system’s interest in judicial efficiency and the
  interests of the several states in furthering social policies—also favor dismissal. It is
  socially prudent to litigate in North Carolina, where the parties have previously
  consented to jurisdiction, rather than foreign jurisdictions.10 These remaining factors
  favor North Carolina, where Nationwide is at home and where HomeSource has


  10
    Nationwide also notes that litigating in New Jersey will delay this case because
  travelers visiting New Jersey from North Carolina, where Nationwide is based, must
  quarantine for 14 days. North Carolina, in contrast, does not presently have a
  mandatory quarantine, so the parties will not face travel delays if the case is
  transferred.

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  repeatedly litigated in the past.

         D.     HomeSource should not be permitted jurisdictional discovery.
     HomeSource argues it should “be entitled to jurisdictional discovery in order to
  learn more about Nationwide’s business dealings in New Jersey and overall revenues

  from the state” (Doc. 220, p. 14), but those topics are irrelevant to Nationwide’s
  purported “suit-related conduct [that] must create a substantial connection with [New
  Jersey]” such that it would support specific jurisdiction. See Walden, at 284 (emphasis
  added). In other words, those discovery topics would not help establish that Nationwide
  purposefully directed its alleged tortious conduct at New Jersey—HomeSource
  provides no cogent argument otherwise. Moreover, HomeSource has not presented any

  evidence that Nationwide may have contacts “so substantial and of such a nature to
  constitute the type of exceptional case where [Nationwide] is at home some place other
  than its principle place of business or its place of incorporation.” Ferguson v. Aon Risk
  Svcs. Cos., Inc., 2020 WL 914702, at *6 (D.N.J. Feb. 26, 2020) (denying jurisdictional
  discovery where plaintiff had alleged no such facts) (emphasis added). Any discovery
  regarding jurisdiction would therefore be futile. See Barth v. Walt Disney Parks & Resorts
  U.S., Inc., 697 F. App’x 119, 120 (3d Cir. 2017) (affirming denial of request for
  jurisdictional discovery where it “would have been futile”).
     Jurisdictional discovery is also unwarranted because HomeSource has had two years
  to conduct discovery, and further discovery into Nationwide’s revenues would be no
  more than a fishing expedition. See Ameripay, LLC v. Ameripay Payroll, Ltd., 334 F. Supp.
  2d 629, 636 (D.N.J. 2004) (“Since Plaintiff has already taken discovery and has not been
  improperly limited in its discovery, there is no basis for further discovery here.”); Benitez


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  v. JMC Recycling Sys., Ltd., 97 F. Supp. 3d 576, 584 (D.N.J. 2015) (“The Court will not
  permit Plaintiff to use jurisdictional discovery as a fishing expedition to support an

  otherwise improper assertion of personal jurisdiction.”). Plaintiff has already learned
  through discovery from RWS that RWS sent the Newsletters to which Plaintiff objects,
  and that they were not directed at New Jersey in any meaningful sense. And Plaintiff’s

  entire basis for seeking to impute RWS’s conduct to Nationwide rests on “email
  communications with RWS to coordinate the wording of [the] newsletters” at issue—
  emails that Plaintiff already has. See Doc. 164 ¶¶ 30, 144, 153. Jurisdictional discovery is

  therefore unwarranted and should be denied. Barth, 697 F. App’x at 120.

         HomeSource’s Response fails to cure the deficiencies in its pleading and
         its substantive claims should be dismissed under Rule 12(b)(6).
         A.     HomeSource’s vicarious liability claim is not properly pled and is
                legally insufficient regardless of its conspiracy claim.
     HomeSource’s claim that it may plead vicarious liability in the alternative misses the
  mark. As discussed in Nationwide’s opening brief, HomeSource’s vicarious liability
  claim should be dismissed under Rule 12(b)(6) because it is not independently viable.
  HomeSource cannot state a vicarious liability claim because it does not plead facts
  establishing that RWS II acted as Nationwide’s agent in sending the Newsletter, nor
  does it plead facts sufficient to pierce the corporate veil. HomeSource tacitly concedes

  it has no support for this claim and that further discovery is unwarranted as it had “the
  true” corporate structures no later than November 2019 (Doc. 220, at 19), yet it
  provided no facts for the veil-piercing when it filed its SAC in April 2020. HomeSource

  had ample time to either strike its vicarious liability claim or amend its pleading, yet
  HomeSource never did so. As a result, HomeSource’s vicarious liability claim fails and


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  should be dismissed.

         B.     Neither the Third Circuit nor any district court within it has ever
                recognized a claim for contributory false advertising and the Court
                should not do so here.
     As noted in Nationwide’s opening brief, the Third Circuit has never recognized a

  cause of action for contributory false advertising. Doc. 196-1, pp. 16-17. The only case
  to address such a claim here rejected it. G&W Labs., Inc. v. Laser Pharm., LLC, No. 3:17-
  CV-3974, 2018 WL 3031943, at *19 (D.N.J. June 19, 2018). For its response,
  HomeSource sidesteps, but never rebuts G&W Labs. It further ignores numerous
  authorities barring contributory false advertising claims under the Lanham Act, and
  only cites an Eleventh Circuit and one non-binding case to support its position. Doc.

  220, p. 20 (citing Duty Free Americas, Inc. v. Estee Lauder Cos., 797 F.3d 1248 (11th Cir.
  2015)). But no Third Circuit case has ever recognized such a cause of action, presumably
  because many courts outside the Eleventh Circuit have expressly refused to recognize
  such a claim. See, e.g., Telebrands Corp. v. My Pillow, Inc., No. 18-CV-06318, 2019 WL
  1923410, at *3 (N.D. Ill. Apr. 30, 2019) (characterizing the Eleventh Circuit’s ruling as
  “novel” and stating that it “has not been adopted by the Seventh Circuit or any other
  circuit”) (emphasis added); Acad. of Doctors of Audiology v. Int'l Hearing Soc'y, 237 F. Supp.
  3d 644, 666 (E.D. Mich. 2017) (stating that the Eleventh Circuit “appears to stand
  alone” in its recognizing a contributory false advertising claim); see also Nestle Purina
  Petcare Co. v. Blue Buffalo Co. Ltd., No. 4:14 CV 859 RWS, 2016 WL 1579195, at *3 (E.D.
  Mo. Apr. 19, 2016) (stating that the Eleventh Circuit’s holding “it is not persuasive
  enough to compel me to reconsider my previous ruling or to reject the line of cases




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  holding that no such right exists.”).11
     These cases foreclose contributory liability for good reason. The Supreme Court, in

  Lexmark Int'l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014), held that “a
  plaintiff suing under § 1125(a) ordinarily must show economic or reputational
  injury flowing directly from the deception wrought by the defendant’s advertising; and that that

  occurs when deception of consumers causes them to withhold trade from the plaintiff.”
  572 U.S. at 133 (emphasis added). HomeSource never addresses Lexmark, presumably
  because HomeSource cannot claim damage “flowing directly from the deception

  wrought by [Nationwide’s] advertising”; instead, it claims damages from the Newsletter
  that RWS II sent. The remaining, non-binding case cited by HomeSource is similarly
  distinguishable because it related to contributory trademark infringement, not false

  advertising. Doc. 220, p. 20 (citing Transdermal Prod., Inc. v. Performance Contract Packaging,
  Inc., 943 F. Supp. 551, 553 (E.D. Pa. 1996)).
     HomeSource’s contributory false advertising claim should be dismissed.

         C.     HomeSource misapprehends Nationwide’s conspiracy argument.
     HomeSource raises a conspiracy argument focusing on whether entities can
  theoretically conspire given a certain ownership structure, even though Nationwide did
  not argue along those lines in its brief. (Compare Doc. 196-1 with Doc. 220 pp. 17-18.)
  In any event, the conspiracy count fails first because the underlying counts fail to state
  viable claims. Banco Popular N. Am. v. Gandi, 184 N.J. 161, 177-78 (2005) (conspiracy


  Plaintiff also misrepresents the Second Circuit as having “explicitly recognized” such a
  claim. Resp. at 18. Not only did the Second Circuit not discuss the issue at all in Merck
  Eprova AG v. Gnosis S.p.A., but it also heard the case before the Supreme Court even
  issued its ruling in Lexmark. 760 F.3d 247 (2d Cir. 2014).

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  requires underlying wrong). Second, even if the SAC had a viable claim to which a
  conspiracy could theoretically apply (it does not), HomeSource pled no agreement to

  engage in unlawful conduct. Morganroth & Morganroth v. Norris, McLaughlin & Marcus, P.C.,
  331 F.3d 406, 414 (3d Cir. 2003). That is the deficiency with the conspiracy count in
  the SAC, which HomeSource’s response failed to address.

                                     CONCLUSION
     For all these reasons, as well as those in its opening brief, Nationwide respectfully
  requests that the Court grant its motion to dismiss Plaintiff The HomeSource, Corp.’s
  Second Amended Complaint for lack of personal jurisdiction. Additionally, as each of
  HomeSource’s substantive allegations fail to state a claim upon which relief can be

  granted, all claims against Nationwide should be dismissed under Rule 12(b)(6).

   Dated: July 27, 2020                      Respectfully submitted,

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                              CERTIFICATE OF SERVICE

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  was served via electronic mail upon the following counsel for the Plaintiff:

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